Exhibit 1
10/24/24, 6:56 PM                                                    WebVoyage Record View 1




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   Copyright Catalog (1978 to present) at DC4
   Search Request: Left Anchored Title = Deerskull Dreamcatcher
   Search Results: Displaying 2 of 2 entries




                             Deerskull Dreamcatcher; / Sunniva Grotle Myster; Reg. VA0002379663.

                       Type of Work: Recorded Document
                  Document Number: V15025D898
                 Date of Recordation: 2024-06-11
         Entire Copyright Document: V15025 D898 P1
                   Date of Execution: 04May17
   Registration Number Not Verified: VA0002379663
                                Title: Deerskull Dreamcatcher; 2D Art / Sunniva Grotle Myster; Reg. VA0002379663.
                               Notes: Assignment of Copyright.
                             Party 1: Sunniva Grotle Myster, Jaegerbakken 12, Bergen, NOR
                             Party 2: Kevin Bane, 1518 19th Avenue, Longmont, CO, USA
                                 Names: Myster, Sunniva Grotle
                                        Bane, Kevin
                                        Sunniva Grotle Myster




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10/24/24, 6:58 PM                                                   WebVoyage Record View 1




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   Public Catalog
   Copyright Catalog (1978 to present) at DC4
   Search Request: Left Anchored Title = Save the wolf
   Search Results: Displaying 3 of 3 entries




                                   Save the wolf; / Sunniva Grotle Myster; Reg. VA0002379925.

                       Type of Work: Recorded Document
                  Document Number: V15027D029
                 Date of Recordation: 2024-07-26
         Entire Copyright Document: V15027 D029 P1
                   Date of Execution: 15Sep17
   Registration Number Not Verified: VA0002379925
                                Title: Save the wolf; 2D Art / Sunniva Grotle Myster; Reg. VA0002379925.
                               Notes: Assignment of Copyright.
                             Party 1: Sunniva Grotle Myster, Solbrekken 7, Morvik, NOR
                             Party 2: Kevin Bane d.b.a. The Dreaming Dragon, 1518 19th Avenue, Longmont, CO, USA
                      Alternative Title: Wolf face half and half
                                Names: Myster, Sunniva Grotle
                                         Bane, Kevin
                                         Sunniva Grotle Myster




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10/24/24, 6:59 PM                                                    WebVoyage Record View 1




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   Public Catalog
   Copyright Catalog (1978 to present) at DC4
   Search Request: Left Anchored Title = Yin Yang wolves
   Search Results: Displaying 4 of 4 entries




                                  Yin Yang wolves; / Sunniva Grotle Myster; Reg. VA0002378779.

                       Type of Work: Recorded Document
                  Document Number: V15026D218
                 Date of Recordation: 2024-06-24
         Entire Copyright Document: V15026 D218 P1
                   Date of Execution: 15Sep17
   Registration Number Not Verified: VA0002378779
                                Title: Yin Yang wolves; 2D Art / Sunniva Grotle Myster; Reg. VA0002378779.
                               Notes: Assignment of Copyright.
                             Party 1: Sunniva Grotle Myster, Solbrekken 7, Morvik, NOR
                             Party 2: Kevin Bane d.b.a. The Dreaming Dragon, 1518 19th Avenue, Longmont, CO, USA
                                 Names: Myster, Sunniva Grotle
                                        Bane, Kevin
                                        Sunniva Grotle Myster




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10/24/24, 9:45 PM                                                     WebVoyage Record View 1




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   Public Catalog
   Copyright Catalog (1978 to present) at DC4
   Search Request: Left Anchored Name = Sunniva Grotle Myster
   Search Results: Displaying 1 of 4 entries




                                       Anubis; / Sunniva Grotle Myster; Reg. VA0002379664.

                       Type of Work: Recorded Document
                  Document Number: V15026D219
                 Date of Recordation: 2024-06-24
         Entire Copyright Document: V15026 D219 P1
                   Date of Execution: 12Oct17
   Registration Number Not Verified: VA0002379664
                                Title: Anubis; 2D Art / Sunniva Grotle Myster; Reg. VA0002379664.
                               Notes: Assignment of Copyright.
                             Party 1: Sunniva Grotle Myster, Solbrekken 7, Morvik, NOR
                             Party 2: Kevin Bane d.b.a. The Dreaming Dragon, 1518 19th Avenue, Longmont, CO, USA
                                  Names: Myster, Sunniva Grotle
                                         Bane, Kevin
                                         Sunniva Grotle Myster




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   Public Catalog
   Copyright Catalog (1978 to present) at DC4
   Search Request: Left Anchored Title = Dreamcatcher with Skull and Dragonfly
   Search Results: Displaying 1 of 1 entries




                                               Dreamcatcher with Skull and Dragonfly.

                 Type of Work: Visual Material
   Registration Number / Date: VA0002404359 / 2024-04-08
              Application Title: Dreamcatcher with Skull and Dragonfly.
                          Title: Dreamcatcher with Skull and Dragonfly.
                    Description: Electronic file (eService)
          Copyright Claimant: Kevin Bane, Transfer: By written agreement. Address: 1902 N Fountain Green Road, Unit
                                 303, Belair, MD, 21015, United States.
              Date of Creation: 2017
           Date of Publication: 2017-05-04
    Nation of First Publication: United States
    Authorship on Application: Sunima, pseud. of Sunniva Grotle Myster (author of pseudonymous work); Citizenship:
                                 Norway. Authorship: 2-D artwork.
       Rights and Permissions: Kevin Bane, 1902 N Fountain Green Road, Unit 303, Belair, MD, 21015, United States,
                                 kevinbane01@gmail.com
                          Names: Myster, Sunniva Grotle
                                 Sunima, pseud.
                                 Bane, Kevin




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   Public Catalog
   Copyright Catalog (1978 to present) at DC4
   Search Request: Left Anchored Copyright Number = VA0002404158
   Search Results: Displaying 1 of 1 entries




                                             The Dreaming Dragon Slashing Dragon.

                 Type of Work: Visual Material
   Registration Number / Date: VA0002404158 / 2024-04-08
              Application Title: The Dreaming Dragon Slashing Dragon.
                          Title: The Dreaming Dragon Slashing Dragon.
                    Description: Electronic file (eService)
          Copyright Claimant: Kevin Bane, Transfer: By written agreement. Address: 1902 N Fountain Green Road, Unit
                                 303, Belair, MD, 21015, United States.
              Date of Creation: 2017
           Date of Publication: 2017-08-24
    Nation of First Publication: United States
    Authorship on Application: Sunima, pseud. of Sunniva Grotle Myster (author of pseudonymous work); Citizenship:
                                 Norway. Authorship: 2-D artwork.
       Rights and Permissions: Kevin Bane, 1902 N Fountain Green Road, Unit 303, Belair, MD, 21015, United States,
                                 kevinbane01@gmail.com
                         Names: Myster, Sunniva Grotle
                                Sunima, pseud.
                                Bane, Kevin




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   Copyright Catalog (1978 to present) at DC4
   Search Request: Left Anchored Title = Dragon and Wolf Tribal
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                                                       Dragon and Wolf Tribal.

                 Type of Work: Visual Material
   Registration Number / Date: VA0002404363 / 2024-04-08
              Application Title: Dragon and Wolf Tribal.
                          Title: Dragon and Wolf Tribal.
                    Description: Electronic file (eService)
          Copyright Claimant: Kevin Bane, Transfer: By written agreement. Address: 1902 N Fountain Green Road, Unit
                                 303, Belair, MD, 21015, United States.
              Date of Creation: 2010
           Date of Publication: 2010-09-30
    Nation of First Publication: United States
    Authorship on Application: Sunima, pseud. of Sunniva Grotle Myster (author of pseudonymous work); Citizenship:
                                 Norway. Authorship: 2-D artwork.
       Rights and Permissions: Kevin Bane, 1902 N Fountain Green Road, Unit 303, Belair, MD, 21015, United States,
                                 kevinbane01@gmail.com
                          Names: Myster, Sunniva Grotle
                                 Sunima, pseud.
                                 Bane, Kevin




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